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UN|TED STATES DlSTRICT COURT F"-ED
FOR THE M|DDLE DlSTR|CT OF PENNSYLVAMHH|SBUF{G' pA
JAN 1 1 2013
Per Ol/
D¢puty clerk
UN|TED STATES OF AMER|CA : Crimina| No. 1:16-cr-0082-03
v. :
: Judge Kane
SCOTT LANE, : Magistrate Judge Carlson
Defendant :
ORDER

 

Consistent with the defendant’s approval to institute a pre-sentence
investigation before a conviction of guilty, lT lS ORDERED that the United States
Probation Office shall conduct a pre-sentence investigation and shall prepare a pre-
sentence report and shall disclose the report no later than uggck g. ZC’Q§?

Sentencing will be scheduled by a separate order at a later date.

'TM C;leY-

l\/|artin C. Car|son
U.S. Magistrate Judge

Dated: il H' 18

 

